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   RICHARD A. MARSHACK
 7
 8                                     UNITED STATES BANKRUPTCY COURT

 9                        CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

10 In re                                                           Case No. 8:23-bk-10571-SC

11 THE LITIGATION PRACTICE GROUP P.C.,                             Chapter 11

12                        Putative Debtor.                         DECLARATION OF CHAPTER 11
                                                                   TRUSTEE, RICHARD A. MARSHACK, RE:
13                                                                 RECEIPT OF QUALIFIED OVERBIDS

14                                                                 Date: July 21, 2023
                                                                   Time: 10:00 a.m.
15                                                                 Ctrm: 5C-Virtual1
                                                                   Location: 411 W. Fourth St.
16                                                                           Santa Ana, CA 92701

17
18
19            I, RICHARD A. MARSHACK, declare as follows:
20            1.          I am an individual over 18 years of age and competent to make this Declaration.
21            2.          If called upon to do so, I could and would competently testify as to the facts set forth
22 in this Declaration. The facts set forth below are true of my personal knowledge unless otherwise
23 stated.
24            3.          I am the duly appointed Chapter 11 Trustee of the bankruptcy estate (“Estate”) of The
25 Litigation Practice Group P.C. (“Debtor” or “LPG”).
26
     1
     This hearing date is designated Zoom Only, pursuant to Judge Clarkson’s self-calendaring
27
   procedures. Video and audio connection information for each hearing will be provided on Judge
28 Clarkson’s publicly posted hearing calendar, which may be viewed online at: http://ecf-
   ciao.cacb.uscourts.gov/CiaoPosted/?jid=SC.
                                               1
            SUPPLEMENTAL DECLARATION OF RICHARD A. MARSHACK IN SUPPORT OF SALE MOTION
     4884-5510-4113,v.1
Case 8:23-bk-10571-SC              Doc 316 Filed 07/21/23 Entered 07/21/23 08:23:15             Desc
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 1            4.          I make this Declaration in support of my Motion for Entry of an Order (A) Approving
 2 Sale, Subject to Overbid, of Assets Free and Clear of all Liens, Claims, Encumbrances and Interests
 3 Pursuant to 11 U.S.C. § 363(B); and (B) Approving Assumption and Assignment of Certain
 4 Executory Contracts and Unexpired Leases and Other Agreements (“Motion”).
 5            5.          I have received two bids from Qualified Overbidders, the details of which
 6 will be disclosed at the time the auction is to be conducted. Each proposed buyer will be
 7 filing their own declarations in support of their offers, to establish the bona fides of their
 8 good faith. For my part, my team negotiated with these buyers in good faith. I represent
 9 that the offers are the product of arms-length negotiations.
10            6.          For the benefit of the Court, the summary of the economic terms of the
11 stalking horse bid and the bids of the two overbidders are summarized as set forth in the

12 attached chart, incorporated here by reference.
13            7.          Recognizing that the goal is to produce the Highest and Best bid, at the
14 time of the auction, after careful consideration, in the exercise of my best business
15 judgment, and after the auction to establish the economic terms, I will announce my
16 selection of the Highest and Best offer to the Court.
17            I declare under penalty of perjury that the foregoing is true and correct. Executed on July 21,
18 2023.
19
                                                              RICHARD A. MARSHACK
20
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                                               2
            SUPPLEMENTAL DECLARATION OF RICHARD A. MARSHACK IN SUPPORT OF SALE MOTION
     4884-5510-4113,v.1
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                                                      EXHIBIT 1
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                                          CLG OFFER
             Down payment    13,400 (active    $363.63/file      $4,877,454.44
                             files
             Down payment    4,700 (paused     $363.63/file      $1,709,061.00
                             files)
             Backend         13,400 (active    20% (Of 80%)      $14,005,680
                             files)            based on 19.5
                                               mos. @ $335/mo.
             Backend         4,700 (paused     20% (Of 80%)      $4,912,440.00
                             files             based on 19.5
                                               mos. @ $335/mo.
             Backend         16,900 (inactive  15% (Of 80%)      $1,324,791
                             files) @10%       based on 19.5
                                               mos. @ $335/mo.
             Backend         16,900 (inactive  15% (Of 80%)      $1,987,186.50
                             files) @15%       based on 19.5
                                               mos. @ $335/mo.
             Backend         16,900 (inactive  15% (Of 80%)      $2,649,582
                             files) @20%       based on 19.5
                                               mos. @ $335/mo.
             TOTAL                                               $31,466,194.90
             ADMIN LOANS                                         (-) $1,2999,663.98
             NET                                                 $30,166,531.00


                         OFFER FROM MORNING LAW GROUP
             Down payment  18,100           $303.87/file $5,500,000
                           (active/paused
                           files
             Backend       18,100           50% based on $59,119,125
                           (active/paused   19.5 mos. @
                           files)           $335/mo.
             Backend       16,900 (inactive 40% based on $4,415,970
                           files) @10%      19.5 mos. @
                                            $335/mo.
             Backend       16,900 (inactive 40% based on $6,623,955
                           files) @15%      19.5 mos. @
                                            $335/mo.
             Backend       16,900 (inactive 40% based on $8,831,940
                           files) @20%      19.5 mos. @
                                            $335/mo.
             TOTAL                                       $84,490,990.00
             ADMIN LOANS                                 (-) $1,299,663.98
             NET                                         $83,191,326.00




                                                             EXHIBIT 1, PAGE 3
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              OFFER FROM THE BENSAMOCHAN LAW FIRM, INC. OR SUNSET
                                 COAST LEGAL GROUP
             Down payment 18,100           $41.44/file  $750,000.00
                          (active/paused
                          files
             Backend      18,100           50% based on $59,119,125
                          (active/paused   19.5 mos. @
                          files)           $335/mo.
             Backend      16,900 (inactive 45% based on $4,967,966.25
                          files) @10%      19.5 mos. @
                                           $335/mo.
             Backend      16,900 (inactive 45% based on $7,451,949.38
                          files) @15%      19.5 mos. @
                                           $335/mo.
             Backend      16,900 (inactive 45% based on $9,935,932.50
                          files) @20%      19.5 mos. @
                                           $335/mo.
             TOTAL                                      $82,224,973.10
             ADMIN LOANS                                (-) $1,049,663.98
             NET                                        $81,175,309.20




                                                         EXHIBIT 1, PAGE 4
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620.

A true and correct copy of the foregoing document entitled: DECLARATION OF CHAPTER 11
TRUSTEE, RICHARD A. MARSHACK, RE: RECEIPT OF QUALIFIED OVERBIDS



 will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On July 21,
2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                              Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On July 21, 2023, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

 DEBTOR – MAIL REDIRECTED TO TRUSTEE
 THE LITIGATION PRACTICE GROUP P.C.
 17542 17TH ST, SUITE 100
 TUSTIN, CA 92780-1981

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on July 21, 2023, I served the following persons and/or entities by personal delivery,
overnight mail service, or (for those who consented in writing to such service method), by facsimile transmission and/or
email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge
will be completed no later than 24 hours after the document is filed.

VIA PERSONAL DELIVERY:
PRESIDING JUDGE’S COPY
HONORABLE SCOTT C. CLARKSON
UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA
411 WEST FOURTH STREET, SUITE 5130 / COURTROOM 5C
SANTA ANA, CA 92701-4593

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 July 21, 2023                  Layla Buchanan                                                   /s/ Layla Buchanan
 Date                                     Printed Name                                           Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
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    INTERESTED PARTY COURTESY NEF: Randall Baldwin Clark rbc@randallbclark.com
    INTERESTED PARTY COURTESY NEF: Leslie A Cohen leslie@lesliecohenlaw.com,
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